
In re Warren, Jerome; — Plaintiff; Applying for Supervisory and/or Remedial Writs, Parish of Jefferson, 24th Judicial District Court Div. A, No. 97-7518; to the Court of Appeal, Fifth Circuit, No. 05-KH-920.
Denied. La.C.Cr.P. art. 930.8; State ex rel. Glover v. State, 93-2330 (La.9/5/95), 660 So.2d 1189; La.C.Cr.P. art. 930.3, State ex rel. Melinie v. State, 93-1380 *855(La.1/12/96), 665 So.2d 1172; State v. McKinney, 406 So.2d 160, 161 (La.1981).
KNOLL, J., recused.
